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          IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:07CR188
                              )
          v.                  )
                              )
JOVANI LARA-GOMEZ,            )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court to continue sentencing

(Filing No. 85).    The Court finds said motion should be granted.

Accordingly,

          IT IS ORDERED that sentencing is rescheduled for:

                Thursday, March 20, 2008, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.

          DATED this 6th day of March, 2008.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
